     Case 8:17-cv-01522-AG-DFM Document 16 Filed 11/03/17 Page 1 of 12 Page ID #:111




 1BOWMAN AND BROOKE LLP
  Brian Takahashi(SBN# 146505)
2 E-mail: Bnan.Takahashi ibowmanandbrooke.com
  Autumn E. Lewis(SBN -295584)
3 E-mail: Autumn.Lewis bowmanandbrooke.com
  970 West 190th Street, Suite 700
4 Torrance, CA 90502
  Tel: 310/ 768-3068
5 Fax: 310/ 719-1019
6     Attorneys for Defendants JAGUAR LAND ROVER NORTH AMERICA LLC
      and PENEGON NEWPORT BEACH,INC. dba JAGUAR LAND ROVER
7     NEWPORT BEACH
 8                          UNITED STATES DISTRICT COURT
9
           CENTRAL DISTRICT OF CALIFORNIA — SOUTHERN DIVISION
10
11    ROBBIN ROTH,                                  CASE NO: 8:17-cv-01522 AG(DFMx)
12                                                  Assigned to Hon. Andrew J Guilford
                          Plaintiff,
13                                                  Magistrate Judge for discovery-related
                                                    motions: Hon. Douglas F. McCormick
14            vs.
                                                    DEFENDANT PENEGON NEWPORT
15                                                  BEACH,INC. dba JAGUAR LAND
   JAGUAR LAND ROVER NORTH                          ROVER NEWPORT BEACH MOTION
16 AMERICA,LLC,a Delaware Limited                   TO COMPEL ARBITRATION AND
                                                    STAY ACTION; MEMORANDUM OF
17 Liability Company, JAGUAR LAND                   POINTS AND AUTHORITIES;
   ROVER NEWPORT BEACH,a                            DECLARATION OF PAM DOYLE;
18 Business Organization Form Unknown,              DECLARATION OF AUTUMN E.
                                                    LEWIS
19 and DOES 1 through 10, inclusive,
                                                    Date:      December 4,2017
20                                                  Time:      10:00 a.m.
                          Defendants.
21                                                  Courtroom: 10D

22                  MEMORANDUM OF POINTS AND AUTHORITIES
23    I.      INTRODUCTION
24            Plaintiff Robbin Roth entered into a written contract with Defendant for the
25    purchase of a Certified Pre-Owned ("CPO") 2011 Jaguar XJ Supercharged. The
26    transaction was governed by a written "Retail Installment Sale Contract — Simple
27    Interest Finance Charge (With Arbitration Provision)" ("RISC") containing the
28    terms and conditions of the purchase. See RISC attached as Exh. A to Declaration


      18709876v2
     Case 8:17-cv-01522-AG-DFM Document 16 Filed 11/03/17 Page 2 of 12 Page ID #:112




 1    of Pam Doyle. ("Doyle Decl.") The RISC, form 553-CA-ARB, revised in July
 2 2013, includes an arbitration provision which allows either party to "choose to
 3    have any dispute between us decided by arbitration and not in court or by jury
 4 trial." Exh. A to Doyle Decl., "Arbitration Provision." That provision expressly
 5    grants Defendant the right to elect that any dispute be resolved by arbitration.
6     Accordingly, and pursuant to that provision, Defendant moves the Court for an
 7 order requiring Plaintiffs claim to be decided by arbitration and also staying this
 8    action pending the completion of such arbitration.
 9       Pursuant to Local Rule 7-3, the parties have meet and conferred both
10 telephonically and in written exchanges regarding arbitration. See Declaration of
11 Autumn E. Lewis. Plaintiff is unwilling to stipulate to have this matter arbitrated
12    pursuant to the RISC.
13 II.         STATEMENT OF FACTS
14         On April 14, 2015 Plaintiff purchased a CPO 2011 Jaguar XJ Supercharged,
15     VIN SAJWA1GEOBMV17553("Vehicle") from Defendant pursuant to the
16 aforementioned RISC. The RISC provides:
17            Agreement to Arbitrate: By signing below, you agree
              that, pursuant to the Arbitration Provision on the reverse
18            of this contract, you or we may,elect to resolve any
              dispute by neutral, binding arbitration and not by a court
19            action. See the Arbitration Provision for additional
              information concerning the agreement to arbitrate. (See
20            RISC, Exh. A to Doyle Decl.)
21       After an opportunity to review the RISC, Plaintiff expressly and in writing
22 indicated her agreement with the arbitration provision set forth on the RISC,
23     which states, in relevant part:
24                  1. EITHER YOU OR WE MAY CHOOSE TO HAVE
                   ANY DISPUTE BETWEEN US DECIDED BY
25                  ARBITRATION AND NOT IN COURT OR BY JURY
                   TRIAL.
26                  • 0 $




27                   Any claim or dispute, whether in contract tort, statute or
                    otherwise...betwgen      you    [Plaintiffj     and      us
28                  [Defendant]...which arises out of or relate to your credit


       18709876v2                                2
     Case 8:17-cv-01522-AG-DFM Document 16 Filed 11/03/17 Page 3 of 12 Page ID #:113




 1                   application, purchase or condition of this vehicle, this
                     contract      or     any    resulting    transaction    or
2                    relationship...shall, at your or our election, be resolved
                     by neutral binding arbitration and not by court action.
 3
                     Any arbitration under this Arbitration Provision shall be
 4                   governed by the Federal Arbitration Act(9 U.S.C. § 1, et
                     seq,) and not by any state law concerning arbitration.
 5                   Vd)
6              The RISC forms the basis of Plaintiffs allegations against Defendant. (See
 7    id.)      The Complaint contains causes of action for the implied and express
 8 warranty under the Song Beverly Warranty Act, violation of the Consumer Legal
 9 Remedies Act, and violation of Business & Professions Code §1720, et seq. As a
10 party to this action, and to the RISC, Defendant has the legal right to demand that
11    this dispute be resolved pursuant to binding arbitration as expressly set forth in the
12 RISC.
13       Accordingly, Defendant denies Plaintiffs allegations and hereby demands
14 that the controversy be resolved through binding arbitration, pursuant to the
15    controlling RISC.
16 III.        LEGAL ARGUMENT
17          Plaintiffs claim must be arbitrated pursuant to the parties' express
18     agreement. The Federal Arbitration Action ("FAA") "makes agreements to
19     arbitration 'valid, irrevocable, and enforceable.' Davies v. Broadcom
20     Corporation, 130 F.Supp.3d 1343, 1352 (2015) (quoting AT&T Mobility, LLC v.
21 Concepcion, 563 U.S. 333, 333 (2011)). The FAA mandate "leaves no place for
22 the exercise of discretion by a district court, but instead mandates that district
23 courts shall direct the parties to proceed to arbitration on issues as to which an
24     arbitration agreement has been signed." Dean Witter Reynolds, Inc. v. Byrd, 470
25     U.S. 213, 218 (1985); see Cohen v. Wedbush Noble Cooke, Inc., 841 F.2d 282,
26 285 (9th Cir. 1988). Federal courts favor the enforcement of valid arbitration
27 agreements. The United States Supreme Court has often reaffirmed the long-
28     standing "liberal federal policy favoring arbitration," and the "fundamental


       18709876v2                                3
     Case 8:17-cv-01522-AG-DFM Document 16 Filed 11/03/17 Page 4 of 12 Page ID #:114



 1    principle that arbitration is a matter of contract" stating, "[i]ri line with these
2 principles, courts must place arbitration agreements on equal footing with other
3     contracts . . . and enforce them according to their terms." See e.g., AT&T Mobility,
4 LLC v. Concepcion, 563 U.S. 333, 131 S.Ct. 1740, 1745-1746 (2011). Indeed,
5     courts are required to resolve any doubt as to whether a dispute falls within an
6     arbitration provision in favor of arbitration. See AT&T Tech., Inc. v. Comm.
7      Workers ofAm., 475 U.S. 643,649-650(1986).
8              In this instance, there is no doubt that an agreement to arbitrate the subject
 9 commercial transaction exists between Plaintiff and Defendant. Therefore, it is
10 without question and beyond dispute that Plaintiff were placed on notice that
11    either party to the RISC had the right to elect to arbitrate disputes arising from the
12 sale.
13             A.    Plaintiff's Claims Are Subject to Arbitration Under the FAA
14             By the terms of the relevant arbitration agreement contained in the RISC,
15    Plaintiffs claims are subject to arbitration pursuant to the FAA. (See RISC, Exh.
16    A to Doyle Decl.) Section 2 to of the FAA "reflects both that (a) arbitration is
17 fundamentally a matter of contract, and (b) Congress expressed a 'liberal federal
18 policy favoring arbitration.' Chavarria v. Ralphs Grocery Co., 733 F.3d 916,921
19 (9th Cir. 2013)(quoting Conception, 131 S.Ct. at 1745).
20             The FAA provides in pertinent part that:
21                  A written provision in any maritime transaction or a
                    contract evidencing a transaction involving commerce to
22                  settle by arbitration a controversy thereafter arising out
                    of such contract or transaction, or the refusal to perform
23                  the whole or any part thereof, or an agreement in writing
                    to submit to arbitration an existing controversy arising
24                  out of such a contract, transaction, or refusal, shall be
                    valid, irrevocable, and enforceable save upon such
25                  grounds as exist at law or in equity for the revocation of
                    any contract.
26
                     9 U.S.C. §4
27
28             The role of the court is to determine "(1) whether a valid agreement to


       18709876v2                                4
     Case 8:17-cv-01522-AG-DFM Document 16 Filed 11/03/17 Page 5 of 12 Page ID #:115




 1    arbitrate exists and, if it does,(2) whether the agreement encompasses the dispute
 2    at issue." Cox v. Ocean View Hotel Corp., 533 F.3d 114, 119 (9th Cir. 2008)
 3 (quoting Chiron Corp. v. Ortho Diagnostic Sys., Inc., 207 F.3d 1126, 1130 (9th
 4    Cir. 2000)). Due to the "strong judicial policy favoring the submission of
 5    contractual disputes to arbitration," the requirement that the contract involve
 6 "commerce" is construed broadly. Societe Generale de Surveillance, S.A. v.
 7 Raytheon European Mgmt. and Sys. Co. 643 F.2d 863, 867 (1st Cir. 1981); see
 8    Concepcion, 131 S.Ct. at 1745-1746; Federal policy favors arbitration agreements
 9    and requires that the Court rigorously enforce them. Shearson/American Exp.,
10 Inc. v. McMahon, 482 U.S. 220, 226, 107 S.Ct. 2332, 2337 (1987)(citing Dean
11     Witter Reynolds, Inc. v. Byrd 470 U.S. 213, 221, 105 S.Ct. 1238, 1242-1243
12 (1985)). Normally, on a motion compel arbitration under the FAA, the Court
13    applies a strong presumption in favor of arbitration. ARW Exploration Corp. v.
14    Aguirre, 45 F.3d 1455, 1462 (10th Cir. 1995)(FAA evinces strong federal policy
15    in favor of arbitration); see Moses H Cone Mem. Hosp. v. Mercury Constr. Corp
16 460 U.S. 1, 24-25; 103 S.Ct. 927, 941(1983).
17                   1.    The Arbitration Provision is not Unconscionable
18             Defendant anticipates that Plaintiff will argue the Arbitration Provision in
19 the RISC is unconscionable.            "In California, an agreement must be both
20    procedurally and substantively unconscionable to be unenforceable." McLaurin v.
21    Russel Sigler, Inc., 155 F.Supp.3d 1042 (2016). "Substantive unconscionability
22 focuses on the one-sidedness or overly harsh effect of the contract term or clause."
23 Kilgore v. KeyBank, Nat. Ass'n, 718 F.3d 1052, 1058 (9th Cir. 2013) (quoting
24 Harper v. Ultimo, 113 Cal.App.4th 1402 (2003)). "Procedural unconscionability
25    focuses on the factors of surprise and oppression." Id. An unconscionable term or
26    phrase is not enough to invalidate an arbitration agreement, the federal courts are
27    empowered to enforce the agreement after striking unconscionable terms or
28    phrases that are contradictory to the "essential purpose of the agreement."


       18709876v2                                5
     Case 8:17-cv-01522-AG-DFM Document 16 Filed 11/03/17 Page 6 of 12 Page ID #:116




 1    McLaurin, 155 F.Supp.3d at 1047.
 2             The RISC arbitration agreement is neither substantially nor procedurally
 3    unconscionable. Plaintiffs claim against Defendant arises out of the specific
 4    automobile purchase transaction between Plaintiff and the dealership that formed
 5    the basis for the RISC. Substantively, the claim is governed by the provision and
 6 Defendant has the legal and enforceable right to demand arbitration of this action.'
 7 In fact, the California Supreme Court very recently confirmed the enforceability of
 8     an arbitration provision contained within an automobile purchase contract that was
 9    nearly identical to the provision at issue herein. See Sanchez v. Valencia Holding
10     Co., LLC,61 Ca1.4th 899(2015).
11             In that case, the Court rejected the plaintiffs defense of unconscionability
12 and found that claims based on the Song-Beverly Act, like Plaintiffs claim in this
13 case, are procedurally arbitrable under the FAA. Sanchez, 61 Cal.4th at 907. In
14    addition, similar statutory consumer claims for damages under the Consumer
15    Legal Remedies Act and the UCL are also arbitrable. Id.; Broughton v. Cigna
16 Healthplans of Cal. (1999) 21 Ca1.4th 1066, 1084 and Cruz v. Pacificare Health
17 Sys. (2003) 30 Cal.4th 303, 317-318 (collectively referred to as Broughton/Cruz)
18 (holding that Cal. Bus. & Prof. Code § 17200 claims are arbitrable); see also
19 Gilmer v. Interstate/Johnson Lane Corp.(1991) 500 U.S. 20, 26, 111 S.Ct. 1647
20 (noting that "it is by now clear that statutory claims may be the subject of an
21 arbitration agreement, enforceable pursuant to the FAA"); Buckhorn v. St. Jude
22 Heritage Med. Grp. (2004) 121 Cal.App.4th 1401, 1407-1408 (noting that tort
23 claims, as well as contractual claims, are subject to arbitration).
24       In Bernhardt v. Polygraphic Co. 350 U.S. 198, 200, 76 S.Ct. 273(1956), the
25 United States Supreme Court indicated that a contract involves commerce where
26 there is a "showing that petitioner while performing his duties under the
27
28     1   By its terms, the provision covers claims "which arise out of or relate to credit application, purchase or condition
           ofthis vehicle, this contract or any resulting transaction or relationship."(See RISC, Exh. A to Doyle Decl.).


       18709876v2                                                6
     Case 8:17-cv-01522-AG-DFM Document 16 Filed 11/03/17 Page 7 of 12 Page ID #:117




 1     employment contract was working 'in' commerce, was producing goods for
 2 commerce, or engaging in activity that affected commerce." Id., at 200-201. Here,
 3    Defendant does business as an automobile dealership and is unquestionably
 4    involved in the selling and leasing of automobiles in the course of commerce, as
 5    that term is broadly defined in the above-cited federal cases interpreting the FAA.
 6             B.   The Agreement is Valid and Enforceable.
 7             The United States Supreme Court, pursuant to the FAA and the policy
 8 favoring arbitration, mandates that arbitration agreements be enforced; and, that
 9 arbitration agreements can only be invalidated by generally applicable contract
10     defenses, such as fraud, duress, or unconscionability, and "not by defenses that
11     apply only to arbitration or that derive their meaning from the fact that an
12 agreement to arbitrate is at issue." Concepcion, 131 S.Ct. at 1746 (citations
13 omitted). Moreover, "when state law prohibits outright the arbitration of a
14     particular type of claim, the analysis is straightforward: The conflicting rule is
15     displaced by the FAA." Id. at 1747 (citations omitted). In Concepcion, the
16     Supreme      Court   disapproved judicial   vetting, under     the   doctrine   of
17 unconscionability, of the parties' agreed upon arbitration procedures. A court
18 "may not rely on the uniqueness of an agreement to arbitrate as a basis for a state-
19 law holding that enforcement would be unconscionable..." Id. Accordingly, the
20 Court need only read the arbitration provision and enforce it pursuant to its terms.
21 Id.
22           Concepcion also holds that even if a particular arbitral process agreed upon
23     by the parties and reasonably tailored to the type of dispute would otherwise be
24     unenforceable under state law-either directly by statute or indirectly through
25     doctrines such as unconscionability — the FAA preempts and requires
26     enforcement of the arbitration clause. Concepcion, 131 S.Ct. at 1749, 1753. (See
27     also Pinnacle Museum Tower Ass'n v. Pinnacle Mkt. Dev. (US), LLC 55 Ca1.4th
28     223, 245 (2012)("[b]ecause public policy strongly favors arbitration as 'a speedy


       18709876v2                              7
     Case 8:17-cv-01522-AG-DFM Document 16 Filed 11/03/17 Page 8 of 12 Page ID #:118




 1    and relatively inexpensive means of dispute resolution,'" the Court will "decline to
 2 read additional unwritten procedural requirements, such as actual notice and
 3    meaningful reflection, into [an] arbitration statute.... the FAA precludes judicial
 4    invalidation of an arbitration clause based on state law requirements that are not
 5    generally applicable to other contractual clauses, such as proof of actual notice,
 6    meaningful reflection, signature by all parties, and/or a unilateral modification
 7    clause favoring the nondrafting party.")(internal citations omitted).)
 8             In the instant case, a standard sale contract containing an arbitration
 9    provision was used in connection with Plaintiffs purchase of the Vehicle.
10    Standard form contracts are utilized by virtually every automobile dealership in
11    the State of California and many such contracts contain arbitration provisions. In
12 fact, the title for the form contract includes the following "(With Arbitration
13 Provision)". (RISC, Exh. A to Doyle Decl.). As such, arbitration clauses are
14    reasonably anticipated by consumers. The sale of a motor vehicle involves
15    interstate commerce; therefore, the FAA clearly applies.    Plaintiff was
16    unquestionably put on notice of the arbitration provision when she signed the
17 RISC. In fact, Plaintiff signed directly below the following statement:
18                  Agreement to Arbitrate: By signing below, you agree that,
19                  pursuant to the Arbitration Provision on the reverse side of this
                    contract, you or we may elect to resolve any dispute by neutral,
20                  binding arbitration and not by a court action. See the Arbitration
21                  Provision for additional information concerning the agreement to
                    arbitrate. [Emphasis in original.]
22
          This notice regarding the arbitration clause is clearly printed on the front of
23
   the RISC in bold, capital letters. The arbitration clause itself is set forth on the
24
   reverse side of the RISC and clearly states in bold and all capital letters on the first
25
   line that all disputes arising between the parties may be settled by arbitration and
26
   not by a court or jury. Notice of the arbitration provision, and its effect, was clear
27
   and conspicuous and located in more than one location in the RISC. There can be
28


       18709876v2                                  8
     Case 8:17-cv-01522-AG-DFM Document 16 Filed 11/03/17 Page 9 of 12 Page ID #:119




 1    no reasonable contention that arbitration of this, or any dispute, arising between
 2 the parties was not reasonably anticipated by Plaintiff.
 3             Both parties have the right to demand arbitration. Moreover, the clause
 4    gives Plaintiff the right to choose the arbitral forum. Under the terms of the
 5    clause, Plaintiff may elect to arbitrate disputes through the American Arbitration
 6    Association, or another provider of Plaintiffs choice subject to the approval of
 7    dealership. The rules of the American Arbitration Association specified by the
 8    clause as governing the resolution of disputes between the parties are regarded by
 9 courts to be neutral and fair. Green Tree Fin. Corp. v. Randolph 531 U.S. 79, 95,
10 121 S.Ct. 513 (2000). Furthermore, this lawsuit involves a consumer who brought
11 a contract related claim against a car dealership in a commercial context. A cost-
12 sharing clause in a commercial arbitration agreement requiring the parties to share
13 costs equally is mutual and fair. In the present case, the cost sharing clause is, in
14 fact, more than fair to Plaintiff in that it requires Defendant to pay up to $5,000 in
15 arbitration costs on Plaintiffs behalf. Moreover, even if any provision were to be
16 found unconscionable (which Defendant disputes and would be contrary to
17 binding authority), the proper remedy is to sever it, not strike down the entire
18     arbitration agreement. see Concepcion, supra, 131 S. Ct. at 1746;' see also Little
19     v. Auto Stiegler, Inc. 29 Ca1.4th 1064, 1074-76(2003).
20             C.       This Entire Matter Should Be Ordered to Arbitration.
21       Defendant Jaguar Land Rover North America, LLC ("JLRNA") distributed
22 the Vehicle and is a party to this action. JLRNA is not, however, a party to the
23 RISC. Nevertheless, California law provides the Court with the discretion to order
24 the entire matter to arbitration even as to the non-signatory.1 In fact, "[i]t is well
25 established that a nonsignatory beneficiary of an arbitration clause is entitled to
26 require arbitration." Harris v. Sup. Ct, 188 Cal.App.3d 475, 478 (1986). That
27
28     1 JLRNA consents ,to being included as a party to the arbitration. See Consent to Participate in Arbitration, filed
         separately by JLRNA.


       18709876v2                                              9
     Case 8:17-cv-01522-AG-DFM Document 16 Filed 11/03/17 Page 10 of 12 Page ID #:120




 1     Court also found compelling the nonsignatory's consent and willingness to being
 2 included in a binding arbitration of a dispute to which it is a party. Id., at 477
 3 ("trial court granted the motion [to compel arbitration] with respect to the claim
 4 against the [nonsignatory] holding company, based on its expressed willingness to
 5     arbitrate.")
 6             The Arbitration Provision in the RISC is broadly written in that it provides
 7 that "[a]ny claim or dispute...which arises out of or relate to...the purchase or
 8 condition of this vehicle, this contract or any resulting transaction or relationship
 9 (including any such relationship with third parties who do not sign this contract)"
10 shall proceed to arbitration. See, e.g., Spahr v. Secco, 330 F.3d 1266, 1270 (10th
11 Cir. 2003)(describing as "broad" a provision to arbitrate "all disputes arising out
12 of or relating to" contract); AT&T, 475 U.S. 643 at 650(presumption of arbitration
13 particularly applicable where broad clause provides for arbitration of any
14     differences arising with respect to interpretation of contract or performance of any
15     obligation hereunder). When a contract contains a broad arbitration provision, any
16     matters that touch the subject that is to be arbitrated should be arbitrated as well.
17     See P&P Indus., Inc. v. Sutter Corp., 179 F.3d 861, 871 (10th Cir. 1999) There
18 broad provisions are not limited to claims that literally arise under the contract, but
19 rather "embrace all disputes between the parties having a significant relationship
20 to the contract regardless of the label attached to the dispute." Pennzoil
21 Exploration and Production Co. v. Ramco Energy Ltd., 139 F.3d 1061, 1067 (5th
22 Cir. 2006) "[D]oubts concerning the scope of arbitrable issues should be resolved
23 in favor or arbitration." Moses H Cone Mem? Hosp., supra, 460 U.S. 1 at 24-25,
24     103 S.Ct 927 at 74.
25      Mance v. Mercedes-Benz USA, 901 F.Supp. 2d 1147, 1155-56 (N.D. Cal.
26 2012) is also instructive. There, the buyer brought an action against the
27 manufacturer'under the same lemon law [Song Beverly Consumer Warranty Act]
28     at issue in this case. Id. at 1152. In response, the manufacturer brought a motion


       18709876v2                               10
     Case 8:17-cv-01522-AG-DFM Document 16 Filed 11/03/17 Page 11 of 12 Page ID #:121




 1     to compel arbitration under a retail installment sale contract that is virtually
 2 identical to the one in this case. Id. The district court granted the manufacturer's
 3 motion to compel arbitration even though it was not a signatory to the contract. In
 4     so ruling, the district court noted that:
 5                    "Mercedes—Benz's duty to comply with its warranty
                      arose only when Mr. Mance bought the car. Had he not
 6                    signed the contract, he would not have received the
                      warranty from Mercedes—Benz. In other words, his
 7                    claim for breach of warranty is premised on, and arises
                      out of, the contract.... In such a situation, it would not be
 8                    fair to allow Mr. Mance to rely upon his signing the
                      contract to buy the car and get the warranty but to
 9                    prevent Mercedes—Benz from attempting to enforce the
                      contract's arbitration clause."
10
11     Id. at 1157.
12           The district court in Mance also inferred that if the plaintiff also brought
13     claims against the signatory dealer (as is the case here), there would have been
14 further cause to grant the motion to compel arbitration, because those claims
15 would have been "inherently bound upon" the claims against the manufacturer. Id.
16       Here, the claims asserted against the dealership and JLRNA are premised
17 on, and arise out of, the RISC and thus involve the same facts, Vehicle and
18 warranty. Pursuant to the express terms of the RISC, such claims are to be
19 resolved through binding arbitration. Otherwise, parallel actions will proceed in
20 arbitration and this Court wherein both defendants are necessary parties. The most
21     fair, reasonable and efficient result would be to compel this entire matter to
22     arbitration, including the inextricably intertwined claims against JLRNA.
23            D. This Matter Must Be Stayed While the Application to Arbitration
24                    is Pending Through the Conclusion of Arbitration.
25             Defendant requests that this Court stay this action. Section 3 of the FAA
26 provides that:
27       If any suit or proceeding be brought in any of the courts of the United
         States upon any issue referable to arbitration under an agreement in
28       writing for such arbitration, the court in which such suit is pending,
         upon being satisfied that the issue involved in such suit or proceeding

       18709876v2                                  11
     Case 8:17-cv-01522-AG-DFM Document 16 Filed 11/03/17 Page 12 of 12 Page ID #:122




 1             is referable to arbitration under such an agreement, shall on
               application of one of the parties stay the trial of the action until such
2              arbitration has been had in accordance with the terms of the
               agreement, providing the applicant for the stay is not in default in
3              proceeding with such arbitration.
4              Accordingly, Defendant requests that in addition to ordering the present
5      matter to binding arbitration and staying the action until the arbitration is
6      concluded, that this Court also stay the proceedings in this matter as to all parties
7      while this application to arbitrate is pending.
8      IV.     CONCLUSION
9              Defendant has established the existence of a written arbitration agreement to
10     which Plaintiff is a party. The dispute between Plaintiff and Defendant is subject
11     to the arbitration agreement. For the reasons stated above, Defendant respectfully
12 requests that this Court grant this motion to compel arbitration pursuant to the
13 terms and conditions of the arbitration clause attached to this motion. In addition,
14 the Court should order that this lawsuit be stayed pending completion of the
15 arbitration.
16 DATED: November 3, 2017                            BOWMAN AND BROOKE LLP

17                                            BY: /s/Autumn E. Lewis
                                                  Brian Takahashi
18                                                Autumn E. Lewis
                                                  Attorneys for Defendants JAGUAR
19                                                LAND ROVER NORTH AMERICA,
                                                  LLCand PENEGON NEWPORT
20                                                BEACH,INC. dba JAGUAR LAND
                                                  ROVER NEWPORT BEACH
21
22
23
24
25
26
27
28


       18709876v2                                12
